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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

P.B., by and through his next friend, )
Cassandra Berry, et al., )
)
Plaintiffs, ) .
) Civil Case No. 2:10-cv-04049
VS. ) Section A
. ) JudgeJay C. Zainey -
PAUL PASTOREK, et al., ) Magistrate Judge Karen Wells Roby
Defendants.
)

 

 

DECLARATION OF WILLIAM F. CAVANAUGH, JR.
IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR A
PRELIMINARY INJUNCTION AND EXPEDITED DISCOVERY

. J, William F. Cavanaugh, Jr., declare and state as follows:
1. I am a member of the law firm Patterson ‘Belknap Webb & Tyler LLP, counsel for
Plaintiffs. Iam a lawyer admitted to practice in the States of New York and California,
and have been admitted to this Court pro hac vice. Unless otherwise stated herein, I have
personal knowledge of the facts set forth below and, if called as a witness, could and

would competently testify thereto.

2. I submit this declaration in support of Plaintiffs’ Motions for a Preliminary

Injunction and Expedited Discovery.

3. Attached hereto as Exhibit A is a true and correct copy of Sarah Carr, Charter —
Schools Struggle to Meet Special Education Needs, New Orleans Times-Picayune, Jan. 5,

2008.
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4. Attached hereto as Exhibit B is a true and correct copy of Robert Garda, The

Politics of Education Reform: Lessons from New Orleans, 40 J.L. & Educ. 57 (2011).

5. Attached hereto as Exhibit C is a true and correct copy of Mark C. Weber,

- Special Education from the (Damp) Ground Up: Children with Disabilities in a Charter

School-Dependent Educational System, 11 Loy. J. Pub. Int. L. 217 (2010).

6. Attached hereto as Exhibit D is a true and correct copy of Boston Consulting

‘Group, The State of Public Education in New Orleans (Jane 2007).

7. Attached hereto as Exhibit E is a true and correct copy of Bulletin 1508 — Pupil

Appraisal Handbook, La. Admin. Code, tit. 28, pt. CL (2009).

8. Attached hereto as Exhibit F is a true and correct copy of Educational Support
Systems, Inc., The Special Education Project: A Study of 23 Charter Schools in the

Recovery School District (2008).

9. Attached hereto as Exhibit G is a true and correct copy of Louisiana Department

of Education, Special Education Performance Profiles (2008-09).

10. Attached hereto as Exhibit H is a true and correct copy of Cowen Institute for
Public Education Initiatives, “Public Education in New Orleans: Updated September.

2010,” available at http://www.coweninstitute.com/wp-content/uploads/2009/08/School-

' Chart-Update-August-2010.pdf.

11. | Attached hereto as Exhibit I is a true and correct copy of Louisiana Department

of Education, Continuous Improvement and Focused Monitoring Report (2009-2010).
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I declare under penalty of perjury that the foregoing is true and correct.

Welw
William F. Cayariaugh, Je .

Executed on April 25, 2011 in New Orleans, Louisiana.

 

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